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                     UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

               CASE NO.: 17-24206-CIV-MARTINEZ-OTAZO-REYES


         LARA GEORGE MANSOUR, a/k/a                  )
         LARA SAMAHA, et al.,                        )
                                                     )
                Plaintiffs,                          )
                                                     )
                v.                                   )
                                                     )
         GEBRAN BASSIL, et al.,                      )
                                                     )
                Defendants.                          )
                                             ________/

                PLAINTIFFS’ MOTION FOR ENTRY OF DEFAULT

         Plaintiffs, by and through undersigned counsel, and pursuant to Rule 55(a) of

  the Federal Rules of Civil Procedure, hereby file this Motion for Entry of Default as

  to Defendants Gebran Bassil, Dany Macaron, Peter Germanos, Mona Bach

  Mansour, Alexander George Mansour, and Rolly George Mansour, and, as grounds

  therefore, states as follows:

         1.     On October 27, 2020, the Court issued a Summons to Gebran Bassil.

  [ECF No. 159] The Summons and Supplemental Complaint were sent to Gebran

  Bassil by DHL on December 1, 2020 and delivered on December 5, 2020. [ECF No.

  173] The Summons and Supplemental Complaint were also sent to Gebran Bassil by

  Federal Express on December 1, 2020 and delivered on December 4, 2020. [ECF

  No. 173] Gebran Bassil has not filed a response to the Supplemental Complaint.

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        2.     Defendant Dany Macaron was served by Federal Express. A Summons

  and the First Amended Complaint were sent to Dany Macaon on February 12, 2019

  and delivered on February 19, 2019. [ECF Nos. 39, 52] The Clerk of Court entered

  a default against Dany Macaron on March 25, 2019. [ECF No. 79] Pursuant to the

  Court’s October 7, 2020 Order, Plaintiffs sent the Supplemental Complaint to Dany

  Macaron by Federal Express on October 15, 2020. [ECF No. 153] Dany Macaron

  has not filed a response to the Supplemental Complaint.

        3.     On October 27, 2020, the Court issued a Summons to Peter Germanos.

  [ECF No. 160] The Summons and Supplemental Complaint were sent to Peter

  Germanos by DHL on December 1, 2020 and delivered on December 7, 2020. [ECF

  No. 173] Peter Germanos has not filed a response to the Supplemental Complaint.

        4.     Mona Bach Mansour was served by Federal Express. A Summons and

  the First Amended Complaint were sent to Mona Bach Mansour on February 12,

  2019 and delivered on February 19, 2019. [ECF Nos. 42, 55] The Clerk of Court

  entered a default against Mona Bach Mansour on March 25, 2019. [ECF No. 79]

  Pursuant to the Court’s October 7, 2020 Order, Plaintiffs sent the Supplemental

  Complaint to Mona Bach Mansour by Federal Express on October 15, 2020. [ECF

  No. 153] Mona Bach Mansour has not filed a response to the Supplemental

  Complaint.

        5.     Alexander George Mansour was served by Federal Express. A

  Summons and the First Amended Complaint were sent to Alexander Mansour on

  February 12, 2019 and delivered on February 19, 2019. [ECF Nos. 38, 51] The

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  Clerk of Court entered a default against Alexander George Mansour on March 25,

  2019. [ECF No. 79] Pursuant to the Court’s October 7, 2020 Order, Plaintiffs sent

  the Supplemental Complaint to Alexander George Mansour by Federal Express on

  October 15, 2020. [ECF No. 153] Alexander George Mansour has not filed a

  response to the Supplemental Complaint.

        6.     Rolly George Mansour was served by Federal Express. A Summons

  and the First Amended Complaint were sent to Rolly George Mansour on February

  12, 2019 and delivered on February 19, 2019. [ECF No. 44, 57] The Clerk of Court

  entered a default against Rolly George Mansour on March 25, 2019. [ECF No. 79]

  Pursuant to the Court’s October 7, 2020 Order, Plaintiffs sent the Supplemental

  Complaint to Rolly George Mansour by Federal Express on October 15, 2020. [ECF

  No. 153] Rolly George Mansour has not filed a response to the Supplemental

  Complaint.

        7.     Pursuant to Federal Rule of Civil Procedure 12(a)(1)(A), a defendant

  must serve an answer within 21 days after being served with a summons and

  complaint. As a result, “[w]hen a party against whom judgment for affirmative relief

  is sought has failed to plead or otherwise defend . . . the clerk must enter the party’s

  default.” Fed. R. Civ. P. 55(a).

        8.     The time for Defendants Gebran Bassil, Dany Macaron, Peter

  Germanos, Mona Bach Mansour, Alexander George Mansour, and Rolly George

  Mansour to respond to the Supplemental Complaint has expired.




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           WHEREFORE, Plaintiffs respectfully request that the Clerk of Court enter

  a default against Defendants Gebran Bassil, Dany Macaron, Peter Germanos, Mona

  Bach Mansour, Alexander George Mansour, and Rolly George Mansour.



           Dated this 17th day of November 2021.


                                                               Respectfully submitted,

                                                           /s/ Rebecca L. Castaneda
                                                               Rebecca L. Castaneda
                                                            Florida Bar No. 1007926
                                                     The Castaneda Law Firm PLLC
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                                                                 Attorneys for Plaintiffs




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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been

  furnished electronically by the CM/ECF system which will send an electronic filing

  to any counsel of record, this 17th day of November 2021. For the parties not listed in

  CM/ECF, a hard copy of this order has been sent via mail.

                                                                 Respectfully submitted,

                                                              /s/ Rebecca L. Castaneda
                                                   REBECCA L. CASTANEDA, ESQ.
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